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IN THE UNITED sTATEs DISTRICT CoURT 05/1,¢}, "" »\.\ 3
FoR THE wEsTERN DIsTRIcT oF TENNEssEE /5 P -C
EAsTERN DIvIsIoN at:;,¢,,\ '5' 3,

DAN E. LoNG, )
)
Plaiotiff, )
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v. ) No. 03-1097 T/An
)
THE PRocTER ANI) GAMBLE )
MANUFACTURING Co., )
)
Defendant. )

 

REPORT AND RECOMMENDATION

 

Before the Court is Plaintiff’s Motion to Strike the Affidavits of Charles Reed, Robert
Alvey, and Angelia Legions filed on October 25, 2004. United States District Judge J ames D.
Todd referred this matter to the Magistrate Judge for a report and recommendation For the
reasons set forth below, the Court recommends the Motion be DENIED.

BACKGROUND

Plaintiff filed the instant motion to strike the affidavits of Ms. Angelia Legions, Mr.
Robert Alvey, and Mr. Charles Reed, which Were attached to Defendant’s Motion for Summary
Judg:rnent.1 Plaintiff states in his Motion that the Court’s Rule 16(b) Scheduling Order set June
18, 2004 as the deadline for completing all discovery. After the June 18, 2004 deadlinc,
Defendant identified Ms. Legions, Mr. Alvey and Mr. Reed as potential witnesses. Plaintiff

therefore argues that because Defendant did not disclose these persons before the close of

 

lMs. Legions has since been married and is now known as Ms. Angelia Legions Teague. The Court will
refer to Ms. Teague as Ms. Legions in this Order.

Thle document entered on the docket sheet in compliance

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discovery and because Plaintiff was not afforded the opportunity to confront or cross examine
these witnesses, their affidavits should be stricken from Defendant’s Motion for Summary
Judgment. Plaintiff also argues “the affidavits contain information that is redundant, immaterial,
impertinent, or scandalous.” (Pl.’s Mot. to Strike Affidavits, at l). Plaintiff states that
Defendant’s failure to disclose Ms. Legions, Mr. Albey, and Mr. Reed was an attempt to
circumvent the Federal Rules of Civil Procedure. Plaintiff, however, does not explain how
failing to disclose these persons Would be prejudicial to his case.

Defendant responded to the Motion on November 15, 2004. In its response, Defendant
argues the affidavits should not be stricken because Plaintiff has suffered no prejudice and
because these witnesses are rebuttal witnesses Defendant argues it is not required to disclose
rebuttal witnesses Although he Was permitted to do so pursuant to Fed. R. Civ. P. 56(f),
Defendant also argues that the Motion should be denied because Plaintiff did not request a
continuance of these proceedings to give him time to depose or otherwise question these three
individuals

ANALYSIS

The Federal Rules of Civil Procedure allow a party to attach exhibits to a motion for
summary judgment ln particular, Rule 5 6(e) requires that “[s]upporting and opposing affidavits
shall be made on personal knowledge, shall set forth such facts as would be admissible in
evidence, and shall show affirmatively that the affiant is competent to testify to the matters stated
therein.” Fed. R. Civ. P. 56(e). These three requirements are mandatory. See Charles A. Wright
et al., Federal Practr'ce & Procedure § 2738 (Zd ed. 1983). Af`f'ldavits that do not Satisfy the

requirements of Rule 56(e) are subject to motions to strike. See Reddy v. Good Samarz'tan Hosp.

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& Health Ctr., 137 F. Supp. 2d 948, 954 (S.D. Ohio 2000). “[A]ll materials submitted in support
or in opposition to a motion for summary judgment must set forth facts that would be admissible
at trial.” Fiordalisi v. Zubek, 342 F. Supp. 2d 737, 741 (N.D. Ohio 2004).

Plaintiff states that the affidavits of Ms. Legions, Mr. Alvey and Mr. Reed should be
stricken because these individuals were not identified until after the deadline for completing
discovery and because the affidavits contain redundant, immaterial, impertinth and/or
scandalous information However, Plaintiff did not file a Memorandum of Law with his Motion
as required by the Local Rules for the Western District of Tennessee. See Local Rule 7.2(a)(l)
for the Western District of Tennessee (noting that all motions filed in the Court shall be
“accompanied by a supporting memorandum of facts and law”). Nevertheless, the Court has
reviewed the arguments submitted by Plaintiff and concludes the Motion should be denied.

Plaintiff submits this Motion pursuant to Fed. R. Civ. P. lZ(f) and 16(b), but he does not
offer any facts to support a finding that the affidavits should be stricken pursuant to Fed. R. Civ.
P. 12(1`). As Defendant mentions in its Response, Rule lZ(f) applies only to pleadings and
affidavits are not pleadings Specifically, Rule 12(1`) notes:

Upon motion made by a party before responding to a pleading or, if no responsive

pleading is permitted by these rules, upon motion made by a party within 20 days

after the service of the pleading upon the party or upon the court's own initiative at

any time, the court may order stricken from any pleading any insufficient defense

or any redundant, immaterial, impertinent, or scandalous matter.

Fed. R. Civ. P. 12(f). Therefore, because Rule 12(f) is inapplicable to the instant Motion, the
Court will not consider it when deciding if the affidavits should be stricken.

Plaintiff next argues that the affidavits should be stricken because Defendant did not

disclose the individuals before the close of discovery. According to Defendant, Plaintiff

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identified Mr. Alvey and Ms. Legions in his deposition. Defendant claims that these two persons
will be used for impeachment purposes only at trial. (See Opp’n to Mot. to Strike, at 5-6). Rule
26(a)(1) does not require disclosure of witnesses who will be used solely for impeachment
purposes See ch. R. Civ. P. 26(a)(l) (noting a party must identify all persons likely to have
discoverable information for a case, unless used “solely for impeachment”). Moreover, while
Plaintiff did not mention Mr. Reed at his deposition, Defendant submits that Mr. Reed’s
testimony will be used to rebut a claim made by Plaintiff regarding his prior employment (See
Opp’n to Mot. to Strike, at 5). Because it appears that Defendant will use all three individuals
for impeachment purposes, Defendant was not required to disclose the individuals in its Rule 26
Initial Disclosures. Therefore, the Court concludes the affidavits should not be stricken because
Defendant did not disclose Ms. Legions, Mr. Reed, and Mr. Alvey in its Initial Disclosures.

Even if Defendant intends to offer the testimony of these witnesses for some reason other
than impeachment purposes, Plaintiff has not demonstrated that he will be prejudiced by
Defendant's failure to disclose the witnesses prior to the discovery deadline As mentioned
above, Plaintiff did not submit a Mernorandum of Law with his Motion, and Plaintiff did not
explain how he would be prejudiced if the affidavits are considered by the Court. While Plaintiff
does state that he was denied the ability to cross examine and confront the witnesses, the Court
notes that Plaintiff identified two Of these individuals in his deposition Plaintiff, therefore, was
aware of` Ms. Legions and Mr. Alvey and could have taken statements from them or deposed
them if he had chosen to do so. Without more, Plaintiff has not demonstrated that he has been

prejudiced

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The Court has reviewed the affidavits of Mr. Charles, Ms. Legions, and Mr. Alvey, and
after review, the Court concludes that all affidavits are made on personal knowledge, set forth
facts that would be admissible in evidence, and show that the affiant is competent to testify to the
matters stated within each affidavit The Court does not conclude that any of the affidavits
contain redundant, immaterial, impertinent, or scandalous information Therefore, for these
reasons, the Court recommends that Plaintiff’s Motion to Strike be DENIED.

ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS FROM THE DATE OF SERVICE OF THE REPORT. FAILURE TO FILE
THEM WITHIN TEN (10) DAYS OF SERVICE MAY CONSTITUTE A WAIVER OF

OBJECTIONS, EXCEPTIONS, AND FURTHER APPEAL.

/-'*""
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: MH¢; /6, M/

   

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 124 in
case 1:03-CV-01097 was distributed by f`ax, mail, or direct printing on
May 17, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

